          Case 2:12-cr-00169-TLN Document 565 Filed 06/30/17 Page 1 of 3


 1   Dustin D. Johnson (SBN: 234008)
     The Law Offices of Dustin D. Johnson
 2   2701 Del Paso Road, Suite 130-155
     Sacramento, CA 95835
 3   Phone: (877) 377-8070
     Fax: (916) 244-9889
 4
 5   Attorney for Beshiba Cook
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   United States of America,                     No. 2: 12-CR-169-MCE-11
12                     Plaintiff,                  STIPULATION REGARDING
                                                   EXCLUDABLE TIME PERIODS UNDER
13           v.                                    SPEEDY TRIAL ACT; ORDER
14   Beshiba Cook,
15                     Defendant.
16
17                                          STIPULATION
18   1.      By previous order, this matter was set for status on June 29, 2017.
19   2.      By this stipulation, defendant Beshiba Cook, by and through her undersigned

20           counsel, now moves to continue the status conference until July 27, 2017, at
21           10:00 a.m., and to exclude time between June 29, 2017 and July 27, 2017, under
22           Local Code T4.
23   3.      The parties agree and stipulate, and request that the Court find the following:
24           a)    The government has represented that the discovery associated with this
25                 case includes approximately 2590 pages of investigative reports and
26                 related documents and recordings of thousands of wiretap calls. All of this
27                 discovery has been produced directly to counsel.
28
                                                  1
           Case 2:12-cr-00169-TLN Document 565 Filed 06/30/17 Page 2 of 3


 1            b)    Counsel for defendant desires additional time to consult with his client,
 2                  conduct investigation and research, review discovery, and to discuss
 3                  potential resolution with his client. Counsel for the defendant and counsel
 4                  for the government have been continuing to engage in negotiations toward
 5                  possible resolution.
 6            c)    Counsel for defendant believes that failure to grant the above-requested
 7                  continuance would deny counsel the reasonable time necessary for
 8                  effective preparation, taking into account the exercise of due diligence.
 9            d)    The United States does not object to the continuance.

10            e)    Based on the above-stated findings, the ends of justice served by
11                  continuing the case as requested outweigh the interest of the public and
12                  the defendant in a trial within the original date prescribed by the Speedy
13                  Trial Act.
14            f)    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
15                  3161, et seq., within which trial must commence, the time period of June
16                  29, 2017 and July 27, 2017, inclusive, is deemed excludable pursuant to
17                  18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
18                  continuance granted by the Court at defendant’s request on the basis of
19                  the Court’s finding that the ends of justice served by taking such action

20                  outweigh the best interest of the public and the defendant in a speedy trial.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
                                                   2
          Case 2:12-cr-00169-TLN Document 565 Filed 06/30/17 Page 3 of 3


 1   4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 2           of the Speedy Trial Act dictate that additional time periods are excludable from the
 3           period within which a trial must commence.
 4
 5   IT IS SO STIPULATED
 6
 7   Dated: June 27, 2017                              /s/ Dustin D. Johnson
                                                       DUSTIN D. JOHNSON
 8                                                     Counsel for Defendant
                                                       Beshiba Cook
 9

10   Dated: June 27, 2017                              Phillip A. Talbert
                                                       United States Attorney
11
12                                                     /s/ Jason Hitt (approved via email)
                                                       Jason Hitt
13                                                     Assistant United States Attorney
14
15
16                                              ORDER
17           IT IS SO ORDERED.
18   Dated: June 29, 2017
19

20
21
22
23
24
25
26
27
28
                                                   3
